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   1   Jason Dennis
       (Pro hac vice application pending)
   2   jdennis@lynnllp.com
       Eliyahu Ness (State Bar No. 311054)
   3   eness@lynnllp.com

   4   LYNN PINKER COX & HURST, LLP
       2100 Ross Avenue, Suite 2700
   5   Dallas, Texas 75201
       Telephone: (214) 981-3800
   6   Fax: (214)-981-3839

   7   Attorneys for Corporate Recovery
       Associates, LLC and Richard Feferman
   8

   9                           UNITED STATES BANKRUPTCY COURT

  10                           SOUTHERN DISTRICT OF CALIFORNIA

  11
       In Re:                                 CASE NO: 17-06078-MM7
  12

  13
       CORE SUPPLEMENT                        REQUEST FOR JUDICIAL NOTICE IN
  14
       TECHNOLOGY, INC.,                      SUPPORT OF OPPOSITION BY FORMER
  15                                          CHAPTER 11 CHIEF RESTRUCTURING
                Debtor.                       OFFICER RICHARD FEFERMAN TO
  16                                          CHAPTER 7 TRUSTEE RICHARD M
  17                                          KIPPERMAN’S MOTION TO DISGORGE
                                              COMPENSATION
  18
                                              DATE: May 7, 2020
  19                                          TIME: 10:00 a.m.
  20                                          DEPT: 1, Room 218

  21                                          Honorable Margaret M. Mann
  22

  23

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                                                      1
                        REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION TO DISGORGE
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   1
              Former Chief Restructuring Officer Richard Feferman (the “Former CRO”)
   2
       respectfully submits the following Request for Judicial Notice in Support of his
   3
       concurrently filed Opposition to Motion to Disgorge Compensation Paid to Chapter
   4
       11 Chief Restructuring Officer, Richard Feferman, as follows:
   5

   6                                                  I.
   7
                                GROUNDS FOR JUDICIAL NOTICE
   8
       Federal Rules of Evidence, Rule 201, provides, in relevant part, as follows:
   9

  10          Rule 201. Judicial Notice of Adjudicative Facts
              (a) Scope of rule. This rule governs only judicial notice of adjudicative facts.
  11          (b) Kinds of facts. A judicially noticed fact must be one not subject to
  12   reasonable dispute in
              that it is either (1) generally known within the territorial jurisdiction of the trial
  13   court or (2) capable of accurate and ready determination by resort to sources whose
  14   accuracy cannot reasonably be questions.
              (c) When discretionary. A court may take judicial notice, whether requested or
  15   not.
  16          (d) When mandatory. A court shall take judicial notice if requested by a party
       and supplied with the necessary information.
  17

  18                                                  I.

  19                            GROUNDS FOR JUDICIAL NOTICE
  20
              The Former CRO requests this Court take judicial notice of the pleadings, orders
  21
       and other documents on file in the official Court files for the above-captioned
  22
       bankruptcy case, including:
  23
              1.     Memorandum of Points and Authorities in Support of Motion of Debtor
  24
       and Debtor-in-Possession for Entry of an Order, Pursuant to Sections 363 and 105(a)
  25
       of the Bankruptcy Code Authorizing and Approving the Debtor’s Retention of
  26
       Richard Feferman as Chief Restructuring Officer of the Debtor, Docket No. 86,
  27
       attached hereto as Exhibit 1.
  28



                                                      2
                        REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION TO DISGORGE
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   1
              2.     February 8, 2018 Hearing Transcript, Docket No. 184, attached hereto as
   2
       Exhibit 2.
   3
              3.     September 27, 2018 Order on Uncontested Notice of Intended Action
   4
       Regarding Approval of Trustee’s Settlement Agreement with Bank of America, N.A.
   5
       and Banc of America Leasing & Capital, LLC Debtor: Core Supplement Technology,
   6
       Inc., Docket No. 269, attached hereto as Exhibit 3.
   7

   8

   9   DATED: April 6, 2020                       LYNN PINKER COX & HURST, LLP
  10
  11                                       By:    /s/ Eliyahu Ness
                                                  ELIYAHU NESS
  12
                                                  Attorneys for Corporate Recovery Associates,
  13                                              LLC and Richard Feferman
  14

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                        REQUEST FOR JUDICIAL NOTICE ISO OPPOSITION TO MOTION TO DISGORGE
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                         EXHIBIT 1
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   2

   3

   4    Stephen C. Hinze (State Bar No. 131787)                   Electronically Filed: 1/11/2018
   5    STEPHEN C. HINZE, ATTORNEY AT LAW
        217 Civic Center Drive, Suite 10
   6
        Vista, CA 92084
   7    Tel: 760-945-9353
        Fax: 760-454-2427
   8
        Bankruptcy Counsel
   9    for Debtor in Possession
   10

   11
                              UNITED STATES BANKRUPTCY COURT
   12
                               SOUTHERN DISTRICT OF CALIFORNIA
   13

   14
        IN RE:                             )               Case No.: 17-06078-MM11
   15                                      )
                                           )               Chapter 11
   16                                      )
        CORE SUPPLEMENT                    )               MEMORANDUM OF POINTS AND
   17                                      )               AUTHORITIES IN SUPPORT OF
        TECHNOLOGY, INC. a California      )               MOTION OF DEBTOR AND
   18   Corporation                        )               DEBTOR-IN-POSSESSION FOR
                                           )               ENTRY OF AN ORDER, PURSUANT
   19                                      )               TO SECTIONS 363 AND 105(a) OF
                                           )               THE BANKRUPTCY CODE,
   20                                      )               AUTHORIZING AND APPROVING
           Debtor and Debtor in Possession )               THE DEBTOR’S RETENTION OF
   21                                      )               RICHARD FEFERMAN AS CHIEF
                                           )               RESTRUCTURING OFFICER OF
   22                                      )               THE DEBTOR
                                           )
   23                                      )                            OST PENDING
                                           )
   24                                      )               Judge:        Hon. Margaret M. Mann
                                           )               Dept. :       1
   25                                      )               Hearing Date:
        ________________________________ )                 Time:
   26

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   19
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   1
                       MEMORANDUM OF POINTS AND AUTHORITIES
   2
                                                        I.
   3
                                         STATEMENT OF FACTS
   4
              The Debtor was formed as a California corporation on May 25, 2012. Since
   5
       then, the Debtor has been a corporation duly organized and existing under the laws
   6
       of the State of California.
   7
              The Debtor maintains headquarters in Oceanside, California.
   8

   9
              The Debtor formulates and manufactures nutritional supplements for its own

  10   account and to the special order of its customers.
  11          The Debtor raised $300,000 from investors and approximately $2.1 million,
  12   in secured debt for the purchase of equipment and machinery and an operating line
  13   of credit. This secured debt was incurred to develop sufficient manufacturing
  14   capacity to efficiently compete in the nutritional supplement market. The Debtor
  15   has been unable to achieve profitability.
  16
              The Debtor’s cash flow problems required cut backs its business operations,
  17
       including terminating many of its employees, further impacting its ability to
  18
       manufacture efficiently and exacerbating cash flow problems. To meet customer
  19
       orders and collect outstanding accounts receivable the Debtor has been selling raw
  20
       material and outsourcing manufacturing to Simpson Labs. Through these efforts
  21
       Debtor as converted raw material into customer product, satisfied customer orders,
  22

  23
       and collected substantial outstanding accounts receivable. At the time of this

  24
       motion the Debtor maintains slightly more than $500,000 on deposit in its DIP
  25   operating account. However, the inefficiencies in its manufacturing process
  26   remain and the debtor is not a viable manufacturing business.
  27          One final and important fact: As the Court is aware, the Debtor’s Chapter 11
  28   case has been hampered by substantial disagreement among the members of the


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   1
       Board of Directors and also between the shareholders as to the direction the case
   2
       should take and who should lead the Debtor through the case. The Courts approval
   3
       of Mr. Feferman as Chief Restructuring Officer should resolve this critical issue.
   4
       The Debtor’s Board of Directors and Shareholders have all unanimously approved
   5
       his retention. Absent Mr. Feferman’s approval progress on this case is likely to be
   6
       impeded again by more dispute amongst the Board Members and Shareholders, as
   7
       the primary dispute has involved the leadership of the Debtor’s current
   8

   9
       management. Mr. Feferman removes the sole source of dispute among the various

  10   factions on the Board of Directors and shareholders.
  11          On October 3, 2017 (“Petition Date”), the Debtor filed a voluntary petition
  12   for relief under Chapter 11 of the Bankruptcy Code. The Debtor is operating and
  13   managing its business as a debtor-in-possession pursuant to Sections 1107 and
  14   1108 of the Bankruptcy Code. On December 26, 2017 the Debtor’s board of
  15   directors met and unanimously voted to engage Mr. Feferman of CRA as Chief
  16
       Restructuring Officer to assist in the administration of the bankruptcy estate and
  17
       expeditious sale of the business or all or substantially all of the business’s assets,
  18
       whichever would result in the greatest recovery for the estate’s creditors.
  19
                                                       II.
  20
                                          RELIEF REQUESTED
  21
              The Debtor requests the entry of an order, pursuant to Sections 363 and
  22

  23
       105(a) of the Bankruptcy Code, authorizing the Debtor to retain Mr. Feferman as

  24
       CRO in accordance with the provisions of the Engagement Agreement (Exhibit “1”
  25   to the Feferman Declaration).
  26          The relief requested is necessary to a successful resolution of the Debtor’s
  27   bankruptcy case. The Debtor requires the services of an experienced CRO to
  28




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   1
       supervise the administration of the Debtor’s Chapter 11 case and, in particular, to
   2
       manage the asset sale proceedings in this case.
   3
              As the proposed CRO, Mr. Feferman will act as the most senior officer of
   4
       the Debtor, and effectively will serve as the Debtor’s chief executive officer. Mr.
   5
       Feferman will act at the pleasure and under the direction, control and guidance of
   6
       the Debtor’s Board of Directors. As the proposed CRO, Mr. Feferman will
   7
       manage the Debtor’s business, will be responsible for supervising the
   8

   9
       administration of the Debtor’s Chapter 11 case and will be responsible for all

  10   aspects of the sale proceedings in the Debtor’s case. Mr. Feferman’s services will
  11   facilitate greatly the Debtor’s efforts to achieve a successful sale process in this
  12   case, for the benefit of the Debtor’s creditors.
  13                                                   III
  14                         QUALIFICATIONS OF MR. FEFERMAN
  15          CRA is a financial advisory services firm. CRA has extensive experience
  16
       and expertise in Chapter 11 proceedings. CRA is regularly employed as a business
  17
       and financial advisor, liquidating trustee, Liquidating agent, plan administrator or
  18
       other fiduciary. CRA is based in San Diego California from where it provides
  19
       professional services nationwide.
  20
              Mr. Feferman holds a BBA from Southern Methodist University, is a
  21
       Certified Insolvency and Restructuring Advisor (CIRA) and a Master Analyst in
  22

  23
       Financial Forensics (MAFF). He has more than 37 years’ experience consulting on

  24
       complex financial matters, including debt and financial restructuring, financial
  25   forensics, acquisition due diligence, litigation support, and the disposition of
  26   assets. Mr. Feferman has been the lead professional on numerous complex
  27   engagements, including engagements providing financial restructuring and
  28   reorganization services to companies in Chapter 11 cases, creditor committees,


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   1
       companies in out-of-court restructurings, and to creditors of companies in Chapter
   2
       11 cases. Mr. Feferman has assisted in the sale of assets pursuant to Section 363 of
   3
       the Bankruptcy Code on numerous occasions. A copy of Mr. Feferman’s resume is
   4
       attached as Exhibit 2 listing a representative sampling of Chapter 11 cases in which
   5
       he has recently been employed.
   6
              Mr. Feferman has served as chief executive officer, chairman of the board of
   7
       directors, court-appointed liquidating trustee, financial advisor, and various other
   8

   9
       fiduciary roles in Chapter 11 cases, both before and after plan confirmation. Mr.

  10   Feferman has extensive experience providing crisis management and financial
  11   restructuring services for operating companies and real estate clients. Mr.
  12   Feferman has substantial experience and knowledge regarding restructuring of
  13   complex loan transactions and disposition of operating companies and real estate
  14   projects. A true and correct copy of Mr. Feferman’s resume is attached as
  15   Exhibit “2” to the Feferman Declaration.
  16
              Since being retained by the Debtor, Mr. Feferman has acquired substantial
  17
       knowledge of the Debtor’s financial affairs and business. Mr. Feferman is in the
  18
       process of assisting the Debtor to accomplish a sale of substantially all of the
  19
       Debtor’s assets. In his capacity as proposed CRO, Mr. Feferman has provided and
  20
       will continue to provide independent oversight over the Debtor and the Debtor’s
  21
       operations and the Debtor’s efforts to sell its assets. Mr. Feferman’s services are
  22

  23
       necessary to the administration of the Debtor’s case and to the maximizing of the

  24
       value of the Debtor’s assets for the benefit of the creditors of the Debtor’s estate.
  25   Accordingly, the Debtor believes that the retention of Mr. Feferman as CRO is in
  26   the best interests of the Debtor’s estate.
  27

  28




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   1
                                                       IV.
   2
                          SERVICES TO BE PROVIDED BY THE CRO
   3
              By this Motion, the Debtor seeks an order authorizing the Debtor to retain
   4
       Mr. Feferman as CRO in accordance with the terms of the Engagement
   5
       Agreement. As set forth in the Engagement Agreement, Mr. Feferman will
   6
       provide, among others, the following services to the Debtor:
   7
              (1)     Manage the business and financial affairs of the Debtor;
   8

   9
              (2)     Direct all aspects of the sale proceedings of the assets of the Debtor

  10                  and such other plans that as may maximize the enterprise value of the
  11                  Debtor. With respect to any sale of the assets of the Debtor, the CRO
  12                  will handle all aspects of the sale proceedings in the Debtor’s case,
  13                  including the following: marketing of the Debtor’s assets; facilitating
  14                  bidders’ due diligence; negotiations with any potential bidder;
  15                  evaluating any bid; conducting an auction; and selecting, subject to
  16
                      the approval of the Court, the successful bid(s);
  17
              (3)     Supervise the administration of the Debtor’s Chapter 11 case,
  18
                      including monthly operating reports and other financial reporting
  19
                      required by the Office of the United States Trustee (“U.S. Trustee”);
  20
              (4)     Review claims asserted against the Debtor;
  21
              (5)     Review and evaluate pleadings, financial reports and other documents
  22

  23
                      filed by creditors or parties-in-interest in the Debtor’s Chapter 11

  24
                      case;
  25          (6)     Appear in any proceedings or hearings in this Court, as appropriate;
  26          (7)     If needed, the CRO shall assist the Debtor in the negotiation,
  27                  formulation, confirmation and implementation of a Chapter 11 plan;
  28




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   1
              (8)     Coordinate with the Debtor’s counsel, and assist the Debtor’s counsel,
   2
                      with respect to preparation of pleadings;
   3
              (9)     Communicate with creditors, any Official Committee of Unsecured
   4
                      Creditors appointed in the Debtor’s case (“Committee”) and with
   5
                      other parties-in-interest in the Debtor’s case;
   6
              (10) Perform the services typical of a CRO in a Chapter 11 case, and such
   7
                      other services as may be mutually agreed upon by the Debtor and
   8

   9
                      CRA.

  10          The Debtor and CRA have agreed that CRA will provide to the Debtor the
  11   services of Mr. Feferman as CRO. Alan Myers of CRA will provide limited
  12   services (no more than 20 hours per month).
  13          The Agreement may only be terminated as follows:
  14          (a)     By Feferman providing 30 days’ written notice in accordance with the
  15                  notice provisions of the Agreement; or
  16
              (b)     By the Debtor upon the Court’s entry of an order finding good cause
  17
                      for termination.
  18
       In the event that the Debtor’s board of directors deadlocks on an issue, Feferman
  19
       may seek Court approval to break the deadlock.
  20
              In the event of a dispute between the Debtor and CRA arising from or
  21
       related to the Agreement, then the Court shall reserve exclusive jurisdiction to
  22

  23
       determine such dispute.

  24
              The services listed above are vital to the efficient administration of the
  25   Debtor’s Chapter 11 case, to the success of sale proceedings which the Debtor is
  26   pursuing in this Chapter 11 case, and, ultimately, to a successful resolution of this
  27   case for the Debtor’s creditors. For the reasons described herein, the Debtor
  28   believes that Mr. Feferman is well qualified to perform these services, and,


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   1
       accordingly, that this Court should authorize the Debtor to retain Mr. Feferman, as
   2
       CRO, to perform these services for the Debtor.
   3
                                                       V.
   4
                           COMPENSATION OF THE CRO AND CRA
   5
               Pursuant to the Engagement Agreement, the Debtor and CRA have agreed to
   6
       the following compensation for Mr. Feferman to act as CRO in this Chapter 11
   7
       case.
   8

   9
               (1)    Flat Rate and Hourly Rate. The Debtor has agreed to pay to CRA a

  10           nonrefundable monthly fee of $20,000.00 (a “Flat Rate”) for the CRO’s
  11           services. The Flat Rate fee will be prorated for any partial months based on
  12           the number of days in the prorated month. In addition, the Debtor has agreed
  13           to pay CRA an advance deposit of $20,000 to be applied to CRA's final bill
  14           for services, against which CRA (at CRA’s sole discretion) may charge for
  15           any balance left unpaid for 15 days or more. The Debtor is obligated to
  16
               restore the balance of this deposit to $20,000 at any time CRA utilizes these
  17
               funds on behalf of the Debtor or its expenses. CRA is granted a security
  18
               interest in the advance deposit. Additional limited services, (of no more
  19
               than 20 hours per month) will be provided by financial analyst / CPA Alan
  20
               Myers of CRA at his hourly rate of $240 per hour. Total billings of CRA
  21
               personnel that are charged by the hour (“Hourly Rate”) are subject to a $275
  22

  23
               per hour blended rate cap on the aggregated billings at the end of the case

  24
               (“Blended Hourly Rate Cap”). The Blended Rate Cap is not applicable to
  25           employees of CRA that are provided on a Flat Rate, such as the arrangement
  26           for services rendered by Mr. Feferman. Without further Court order, Mr.
  27           Myers and Mr. Feferman are the only CRA personnel that will be rendering
  28           services on this matter.


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   1
              (2)     CRA and the Corporation agree that, on the date that is sixty (60) days
   2
              from the date of entry of the order appointing the CRO, they may revisit the
   3
              compensation paid to CRA and if it appears to be advantageous to the
   4
              Bankruptcy Estate, and approval by the Court if required, the CRO’s
   5
              compensation will move from the Flat Rate to his normal Hourly Rate
   6
              effective ninety (90) days from the date of entry of the order appointing the
   7
              CRO. To confirm, the aggregated compensation during the duration of the
   8

   9
              case billed by CRA on an Hourly Rate basis is subject to a $275 Blended

  10          Hourly Rate Cap. Flat Rate Fees (the fees for the services of the CRO) are
  11          not subject to the Blended Hourly Rate Cap and are not considered in
  12          calculating the Blended Hourly Rate Cap.
  13          (3)     Reimbursement of Expenses. CRA will be reimbursed by the Debtor
  14          for any reasonable out-of-pocket expenses incurred in connection with the
  15          services provided, such as reasonable travel expenses, computer research,
  16
              messenger, and telephone charges.
  17
              Mr. Feferman and CRA are being employed in the ordinary course of the
  18
       Debtor’s business pursuant to Section 363 of the Bankruptcy Code. Mr. Feferman
  19
       is not being employed as a “professional” under Section 327 of the Bankruptcy
  20
       Code. Accordingly, CRA will not be submitting fee applications pursuant to
  21
       Sections 330 or 331 of the Bankruptcy Code. Mr. Feferman and CRA will file
  22

  23
       with the Court and serve copies on the United States Trustee and any official

  24
       committees a monthly report of tasks performed on the engagement.
  25          The Debtor believes that the proposed compensation structure is fair and
  26   very reasonable in light of industry practice, market rates both in and out of
  27   Chapter 11 proceedings, the amount of time that Mr. Feferman has spent and will
  28




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   1
       spend rendering services as CRO to the Debtor, and Mr. Feferman’s experience
   2
       and expertise in Chapter 11 cases.
   3
                                                       VI.
   4
                    DISINTERESTEDNESS OF CRA AND MR. FEFERMAN
   5
              Although the Debtor does not propose to retain CRA and Mr. Feferman
   6
       under Section 327 of the Bankruptcy Code, CRA has nonetheless performed a
   7
       computerized check with respect to conflicts in this case. To the best of CRA’s
   8

   9
       knowledge, CRA has no material conflicts in this case, and holds no interest

  10   adverse to the estate. Neither Mr. Feferman, CRA, nor any of CRA’s principals,
  11   members, employees or affiliates have any connection with the Debtor, its
  12   creditors, the United States Trustee or any other party with an actual or potential
  13   interest in the Debtor’s case or their respective attorneys or accountants, except as
  14   set forth in the Feferman Declaration. By the Feferman Declaration, Mr. Feferman
  15   provides full and complete disclosure in order to demonstrate that CRA and he
  16
       satisfy all requirements that would be imposed by the Bankruptcy Code and the
  17
       Federal Rules of Bankruptcy Procedure if Mr. Feferman were to be employed in
  18
       this case.
  19
              Since the Debtor is a fairly sizeable enterprise with numerous creditors and
  20
       other business relationships, CRA is unable to state with certainty that every client
  21
       relationship or other material connection with the Debtor’s case has been disclosed
  22

  23
       in the Feferman Declaration. In this regard, if CRA discovers additional

  24
       information that requires disclosure, CRA will file a supplemental disclosure with
  25   the Court.
  26          CRA has not been retained to assist any person or entity other than the
  27   Debtor on matters relating to, or in connection with, the Debtor’s case. If this Court
  28   approves the Debtor’s proposed retention of Mr. Feferman as CRO in this case,


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   1
       CRA will not accept any engagement or perform any services for any person or
   2
       entity other than the Debtor with respect to the Debtor’s case. CRA will, however,
   3
       continue to provide professional services to, and engage in commercial or
   4
       professional relationships with, any persons or entities that may be creditors of the
   5
       Debtor or parties-in-interest in the Debtor’s case, provided that such services do
   6
       not relate to, or have any connection with, the Debtor’s case.
   7
               As of the Petition Date, the Debtor was not indebted to CRA. CRA believes
   8

   9
       that it is a “disinterested person” as defined in Section 101(14) of the Bankruptcy

  10   Code.
  11                                                  VII.
  12           THE ENGAGEMENT AGREEMENT SHOULD BE APPROVED
  13           A.     The Court Has Authority to Approve the Debtor’s Engagement
  14                  Agreement with CRA.
  15           Section 363 of the Bankruptcy Code provides, in relevant part, that a debtor-
  16
       in-possession “after notice and a hearing, may use, sell or lease, other than in the
  17
       ordinary course of business, property of the estate.” 11 U.S.C. § 363(b). Under
  18
       applicable case law in this and other circuits, if a debtor’s proposed use of its assets
  19
       pursuant to Section 363(b) of the Bankruptcy Code represents a reasonable
  20
       business judgment on part of the debtor, such use should be approved. See e.g.,
  21
       Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citing Fulton
  22

  23
       State Bank v. Schipper (In re Schipper), 933 F.3d 513, 515 (7th Cir. 1991));

  24
       Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); Comm. Of
  25   Equity Sec. Holders v. Lionel Corp. (In re Lionel), 722 F.2d 1063, 1070 (2d Cir.
  26   1983); In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (Bankr. D. Del.
  27   1999); In re Delaware & Hudson R.R. Co., 124 B.R. 169, 176 (Bankr. D. Del.
  28   1991) (courts have applied the “sound business purpose” test to evaluate motions


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   1
       brought pursuant to Section 363(b)); In re Integrated Resources, Inc., 147 B.R.
   2
       650, 656 (Bankr. S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d 858,
   3
       872 (Del. 1985)) (“[T]he business judgment rule is a ‘presumption that in making a
   4
       business decision the directors of a corporation acted on an informed basis, in good
   5
       faith and in the honest belief that the actions were in the best interests of the
   6
       company.’”).
   7
              Bankruptcy courts have analyzed the propriety of a debtor’s employment of
   8

   9
       corporate restructuring officers, advisors and professionals under Section 363 on

  10   numerous occasions and have determined it is an appropriate exercise of the
  11   debtor’s business judgment to employ a restructuring professional in this manner.
  12   See In re Westcliff Medical Laboratories, Inc., Case No. 10-16743 (Bankr. C.D.
  13   Cal. June 25, 2010); In re Fatburger Restaurants of California, Inc., et al., Case
  14   No. 09-13965 (Bankr. C.D. Cal. Feb. 16, 2011); In re Fairfield Residential LLC,
  15   Case No. 09-14378 (Bankr. D. Del Jan 13, 2010); In re Motor Coach Industries
  16
       International, Inc., Case No. 08-12136 (Bankr. D. Del Oct. 15, 2008) (approving
  17
       retention of chief restructuring officer and crisis managers); In re Pappas
  18
       Telecasting, Inc., Case No. 08-10916 (Bankr. D. Del June 26, 2008); In re Linens
  19
       Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del May 28, 2008); In re Hoop
  20
       Holdings, LLC, Case No. 08-10544 (BLS) (Bankr. D. Del Apr. 22, 2008); In re
  21
       Leiner Health Products, Inc., Case No. 08-10446 (KJC) (Bankr. D. Del. Apr. 8,
  22

  23
       2008); In re TOUSA, Inc., Case No. 08-10928 (Bankr. S.D. Fla. Mar. 26, 2008); In

  24
       re American Home Mortgage Holdings, Inc., Case No. 07-11047 (Bankr. D. Del.
  25   Sept. 5, 2007); In re Calpine Corp., Case No. 05-60200 (Bankr. S.D.N.Y. Jan 17,
  26   2007).
  27          Pursuant to Section 363(b), a debtor may employ a professional to act as its
  28   chief restructuring officer, interim corporate officer or crisis manager. See In re


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   1
       Tokheim Corp., Case No. 02-13437 (RJN) (Bankr. D. Del. Feb. 25, 2003). The
   2
       retention of interim corporate officers and other temporary employees is proper
   3
       under Section 363 of the Bankruptcy Code. Numerous courts have authorized
   4
       retention of officers utilizing Section 363 of the Bankruptcy Code. See In re
   5
       Westcliff Medical Laboratories, Inc., Case No. 10-16743 (Bankr. C.D. Cal. June
   6
       25, 2010); In re Fatburger Restaurants of California, Inc., et al., Case No. 09-
   7
       13965 (Bankr. C.D. Cal. Feb. 16, 2011); In re Fairfield Residential LLC, Case No.
   8

   9
       09-14378 (Bankr. D. Del Jan. 13, 2010); In re The Holliston Mill, Inc., Case No.

  10   07-10687 (MFW) (Bankr. D. Del. June 6, 2007); In re Sea Containers Ltd., Case
  11   No. 06-11156 (KJC) (Bankr. D. Del. May 8, 2007); In re Adva-Lite, Inc., Case No.
  12   07-10264 (KJC) (Bankr. D. Del. Mar. 16, 2007); In re Global Home Products,
  13   LLC, Case No. 06-10340 (KG) (Bankr. D. Del. May 4, 2006); In re World Health
  14   Alternatives, Inc., Case No. 06-10166 (PJW) (Bankr. D. Del. Mar. 15, 2006).
  15          Additionally, the Court’s general equitable powers, codified in Section
  16
       105(a) of the Bankruptcy Code, provide authority for the relief requested herein.
  17
       Section 105(a) of the Bankruptcy Code empowers the Court to “issue any order,
  18
       process, or judgment that is necessary to carry out the provisions of [the
  19
       Bankruptcy Code.]” See 11 U.S.C. § 105(a). See also United States v. Energy
  20
       Resources Co., 495 U.S.545, 549 (1990); In re Continental Airlines, 203 F.3d 203,
  21
       211 (3d Cir. 2000) (“Section 105(a) of the Bankruptcy Code supplements courts’
  22

  23
       specifically enumerated bankruptcy powers by authorizing orders necessary or

  24
       appropriate to carry out provisions of the Bankruptcy Code.”); Baron & Budd, P.C.
  25   v. Unsecured Asbestos Claimants Comm., 2005 WL 435207, *14 (D.N.J. Feb. 25,
  26   2005) (reciting the power of the bankruptcy court to “… issue any order … that is
  27   necessary or appropriate to carry out the provisions of … [title 11]”).
  28




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   1
              B.      Authorizing the Debtor to Retain Mr. Feferman as CRO is in the
   2
                      Best Interests of the Estate.
   3
              The terms and conditions of the Engagement Agreement were negotiated by
   4
       the Debtor and CRA at arm’s length and in good faith. The Debtor submits that
   5
       the Debtor’s retention of Mr. Feferman as CRO is a sound exercise of its business
   6
       judgment and satisfies Section 363 of the Bankruptcy Code. Mr. Feferman has
   7
       extensive experience and expertise as a chief restructuring officer and as an advisor
   8

   9
       for troubled companies. Moreover, the Debtor believes that Mr. Feferman’s

  10   services are necessary and essential to the administration of the Debtor’s case and
  11   to the Debtor’s ability to maximize the value of the Debtor’s assets pursuant to sale
  12   proceedings in this case, for the benefit of the Debtor’s creditors. In light of the
  13   foregoing, the Debtor believes that the Debtor’s retention of Mr. Feferman as CRO
  14   is appropriate and in the best interests of the Debtor and its creditors.
  15          C.      Retention of Mr. Feferman Is Critical to a Successful Resolution
  16
                      of this Case.
  17
              Denying the relief requested herein would deprive the Debtor of the
  18
       assistance of a highly qualified CRO and would impair the interests of the Debtor’s
  19
       creditors. Mr. Feferman has substantial experience and expertise in the sale of
  20
       financially-distressed businesses. Mr. Feferman’s leading the Debtor’s efforts to
  21
       sell substantially all of the Debtor’s assets will facilitate efficient and effective sale
  22

  23
       proceedings and will enhance the prospects for a successful resolution of this case

  24
       for the benefit of creditors of the Debtor.
  25          The Debtor’s retention of Mr. Feferman pursuant to the terms of the
  26   Engagement Agreement will benefit greatly the Debtor and the Debtor’s creditors.
  27   The Debtor has only one management employee, the Debtor’s general manager,
  28   Joseph O’Dea. Mr. O’Dea has no experience in Chapter 11 proceedings or in the


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   1
       sale of a financially-distressed business, and he is presently working extremely
   2
       long hours to keep the Debtor’s business afloat long enough to sell it. The Debtor
   3
       needs the experience and expertise of Mr. Feferman to supervise the administration
   4
       of the Debtor’s Chapter 11 case and to lead the efforts that will be made in this
   5
       case to effectuate a successful sale of substantially all of the Debtor’s assets.
   6
              Mr. Feferman already has acquired substantial knowledge of the Debtor’s
   7
       business, and has commenced preparation for the marketing of the Debtor’s assets.
   8

   9
       If the Court declines to authorize the Debtor to retain Mr. Feferman, there will be

  10   significant delay in the sale proceedings in this case, to the substantial detriment of
  11   the Debtor’s creditors. The Debtor likely would be required to engage a new chief
  12   restructuring officer or other officer to administer the Debtor’s case and to be
  13   responsible for the sale proceedings in the Debtor’s case. The Debtor’s need to
  14   engage a new chief restructuring officer or other officer in this case would take
  15   substantial time, both in terms of finding and engaging a suitable individual and in
  16
       bringing such individual “up to speed.” Given the Debtor’s lack of profitability or
  17
       continued expected cash flow for its operations, time is of the essence in this case
  18
       and the Debtor has only a brief time frame within which the Debtor can effectuate
  19
       sale proceedings in this case. Moreover, the Debtor may lack resources adequate
  20
       to engage a suitable replacement in this case.
  21
              As described above, the Debtor’s Chapter 11 case had been hampered by
  22

  23
       significant disputes among shareholders and directors as to the direction the case

  24
       should take, and who should lead it on behalf of the Debtor. The Court’s approval
  25   of Mr. Feferman as CRO should solve those issues as the Debtors shareholders and
  26   all members of the board of directors have unanimously approved his retention.
  27   Absent approval of Mr. Feferman, the progress on this Chapter 11 is likely to
  28




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   1
       become impeded again by disagreements between the shareholders and within the
   2
       board.
   3
                As described above, the Debtor’s Chapter 11 case had been hampered by
   4
       significant disputes among shareholders and directors as to the direction the case
   5
       should take, and who should lead it on behalf of the Debtor. The Court’s approval
   6
       of Mr. Feferman as CRO should solve that problem, as the Debtor’s shareholders
   7
       and all members of the board of directors have unanimously approved his
   8

   9
       retention. Absent approval of Mr. Feferman, the progress on this Chapter 11 is

  10   likely to become impeded again by disagreements between the shareholders and
  11   within the board.
  12            Mr. Feferman is qualified to serve as CRO in this case. Furthermore, the
  13   terms of the Engagement Agreement are fair. Mr. Feferman’s proposed
  14   compensation in this case–a $20,000 Monthly Flat Fee is relatively modest,
  15   particularly for an individual with Mr. Feferman’s extensive experience and
  16
       expertise. Accordingly, the Debtor’s decision to enter into the Engagement
  17
       Agreement reflects an exercise of the Debtor’s sound business judgment.
  18
                Based upon the foregoing, the Court should authorize the Debtor to retain
  19
       Mr. Feferman as CRO in accordance with the terms of the Engagement
  20
       Agreement, nunc pro tunc to December 26, 2017.
  21
                                                      VIII.
  22

  23
       CAUSE EXISTS TO WAIVE THE STAY IMPOSED UNDER RULE 6004(h)

  24
                OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
  25            Pursuant to Rule 6004(h) of the Bankruptcy Rules, “[a]n order authorizing
  26   the use, sale, or lease of property other than cash collateral is stayed until the
  27   expiration of 14 days after entry of the order, unless the court orders otherwise.”
  28   Fed. R. Bankr. P. 6004(h). The Debtor respectfully submits that, to the extent that


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   1
       Rule 6004(h) applies to the Debtor’s proposed retention of Mr. Feferman as CRO
   2
       in this case, cause exists to waive the 14-day stay imposed by Rule 6004(h). Given
   3
       the Debtor’s cash flow difficulties, the Debtor needs to effectuate expeditiously the
   4
       sale proceedings in this case. A 14-day stay of an order authorizing the Debtor’s
   5
       retention of Mr. Feferman as CRO will serve only to delay, unnecessarily, the sale
   6
       proceedings in this case, and thereby impair the Debtor’s efforts to effectuate a
   7
       successful sale for the benefit of the Debtor’s creditors.
   8

   9
                                                       IX.
  10         NOTICE OF THE MOTION IS APPROPRIATE, AND NO FURTHER
  11       HEARING IN RESPECT OF THE MOTION IS REQUIRED, UNLESS
  12     SUCH HEARING IS ORDERED BY THIS COURT OR SPECIFICALLY
  13                        REQUESTED BY A PARTY-IN-INTEREST
  14           Notice of the relief requested by this Motion has been provided to all
  15   creditors and parties-in-interest in this case pursuant to Bankruptcy Rule 2002.
  16
       Creditors and other parties-in-interest have been afforded an opportunity to object
  17
       to this Motion and to request a hearing on this Motion, should they object to the
  18
       relief requested herein. In accordance with the provisions of Rule 9013-4(a)(b) of
  19
       the Local Bankruptcy Rules, absent an objection to this Motion, this Court can and
  20
       should approve this Motion without any hearing thereon.
  21
       ///
  22

  23
       ///

  24
       ///
  25   ///
  26   ///
  27   ///
  28   ///


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   1
                                                       X.
   2
                                               CONCLUSION
   3
              Based upon the foregoing, the Debtor respectfully submits that good cause
   4
       exists for this Court to enter an order granting to the Debtor the relief requested
   5
       herein and such other and further relief as the Court may deem just and proper.
   6

   7
       Date: January 11, 2018                                  /s/ Stephen C. Hinze
   8
                                                               Stephen C. Hinze, Attorney
   9                                                           for Debtor and Debtor in
  10
                                                               Possession

  11

  12

  13

  14

  15

  16

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                        EXHIBIT 2
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 1                    UNITED STATES BANKRUPTCY COURT

 2                             SOUTHERN DISTRICT

 3                  JUDGE MARGARET M. MANN, PRESIDING

 4

 5     IN RE:

 6     CORE SUPPLEMENT TECHNOLOGY,  )
       INC.,                        )           CHAPTER 11
 7                                  )
                      DEBTOR.       )           CASE NO. 17-06078-MM
 8     _____________________________)

 9

10
      1) STATUS CONFERENCE ON CHAPTER 11 VOLUNTARY PETITION;
11     2) MOTION FOR INTERIM ORDER AUTHORIZING USE OF CASH
           COLLATERAL AND INVENTORY FILED BY DEBTOR; 3)
12      APPLICATION TO EMPLOY MELISSA BUSTARDE OF MAYFIELD
         BUSTARDE, LLP AS CORPORATE COUNSEL FOR DEBTOR; 4)
13    MOTION AUTHORIZING AND APPROVING DEBTOR'S RETENTION OF
        RICHARD FEFERMAN AS CHIEF REORGANIZATION OFFICER OF
14       THE DEBTOR; 5) HEARING ON SUBMISSION OF ORDER ON
        APPLICATION FOR INTERIM COMPENSATION PAID TO INSIDER
15

16
                    REPORTER'S TRANSCRIPT OF PROCEEDING
17
                            SAN DIEGO, CALIFORNIA
18
                         THURSDAY, FEBRUARY 8, 2018
19

20

21

22

23
       SUE ROSS, CSR NO. 5786                       U.S. BANKRUPTCY COURT
24     SAN DIEGO BANKRUPTCY REPORTERS               DEPARTMENT 1
       P.O. BOX 496                                 325 WEST "F" STREET
25     SOLANA BEACH, CALIFORNIA 92075               SAN DIEGO, CA 92101
       (858) 481-1707

                     UNITED STATES BANKRUPTCY COURT
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                                       69                                        2


 1     APPEARANCES OF COUNSEL:

 2          FOR THE DEBTOR:

 3                  STEPHEN C. HINZE
                    217 CIVIC CENTER DRIVE
 4                  SUITE 10
                    VISTA, CALIFORNIA 92084
 5                  (760) 689-0705

 6
            FOR THE CREDITOR BANK OF AMERICA, N.A.:
 7
                    HEMAR, ROUSSO & HEALD, LLP
 8                  BY: ALEXANDRA RHIM (TELEPHONIC APPEARANCE)
                    15910 VENTURA BOULEVARD
 9                  12TH FLOOR
                    ENCINO, CALIFORNIA 91436
10                  (818) 501-3800

11
            FOR THE UNITED STATES TRUSTEE:
12
                    OFFICE OF THE UNITED STATES TRUSTEE
13                  BY: DAVID A. ORTIZ
                    880 FRONT STREET
14                  SUITE 3230
                    SAN DIEGO, CALIFORNIA 92101
15                  (619) 557-5013

16
            FOR THE INTERESTED PARTY JOSEPH O'DEA:
17
                    SULLIVAN, HILL, LEWIN, REZ & ENGEL
18                  BY: CHRISTOPHER V. HAWKINS
                    550 WEST "C" STREET
19                  SUITE 1500
                    SAN DIEGO, CALIFORNIA 92101
20                  (619) 233-4100

21

22

23

24

25


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                                       69                                        3


 1     APPEARANCES OF COUNSEL (CONTINUED):

 2          FOR THE PROSPECTIVE PURCHASER SIMPSON LABS, LLC:

 3                  DONAHOE & YOUNG
                    BY: MARK YOUNG (TELEPHONIC APPEARANCE)
 4                  25152 SPRINGFIELD COURT
                    SUITE 345
 5                  VALENCIA, CALIFORNIA 91355
                    (661) 259-9000
 6

 7          ALSO PRESENT:

 8                  RICHARD FEFERMAN, CHIEF REORGANIZATION OFFICER
                    DAN GRACE, REPRESENTATIVE OF SIMPSON LABS
 9                  (TELEPHONIC APPEARANCE)

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 1       SAN DIEGO, CALIFORNIA, THURSDAY, FEBRUARY 8, 2018

 2                                   2:35 P.M.

 3

 4                  THE CLERK:       IN THE MATTER OF CORE SUPPLEMENT

 5     TECHNOLOGY, STATUS CONFERENCE ON CHAPTER 11 VOLUNTARY

 6     PETITION; MOTION FOR AN INTERIM ORDER AUTHORIZING USE OF

 7     CASH COLLATERAL; APPLICATION TO EMPLOY MELISSA BUSTARDE

 8     OF MAYFIELD BUSTARDE, LLP; MOTION AUTHORIZING AND

 9     APPROVING DEBTOR'S RETENTION OF RICHARD FEFERMAN AS

10     CHIEF REORGANIZATION OFFICER; HEARING ON SUBMISSION OF

11     ORDER ON APPLICATION FOR INTERIM COMPENSATION PAID TO

12     INSIDER.

13                  MAY WE HAVE THE TWO TELEPHONIC APPEARANCES,

14     PLEASE.

15                  MR. YOUNG:       GOOD AFTERNOON, YOUR HONOR.

16     MARK YOUNG OF DONAHOE & YOUNG, LLP FOR PROSPECTIVE

17     PURCHASER SIMPSON LABS, LLC.           AND A BUSINESS PERSON FROM

18     SIMPSON LABS, DON GRACE, IS HERE AS WELL.

19                  MS. RHIM:    AND GOOD AFTERNOON, YOUR HONOR.

20     THIS IS ALEXANDRA RHIM OF HEMAR, ROUSSO & HEALD ON

21     BEHALF OF BANK OF AMERICA.

22                  THE COURT:       ALL RIGHT.    WELL, I'M GOING TO

23     START OUT WITH THE TELEPHONIC.            THE COURT HAD AN

24     UNFORTUNATE INCIDENT THIS MORNING WITH TELEPHONIC

25     APPEARANCES WHERE ONE PARTY WAS ON THE SPEAKERPHONE.


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 1                  AND, MR. YOUNG, I THINK YOU ARE ON THE

 2     SPEAKERPHONE.

 3                  MR. YOUNG:       YES, I AM ON A SPEAKERPHONE,

 4     YOUR HONOR, AND SO MY CLIENT CAN HEAR AS WELL.                IS THAT

 5     A --

 6                  THE COURT:       WELL, WHY DOESN'T YOUR CLIENT CALL

 7     IN HIM OR HERSELF SO THAT WE DON'T HAVE THIS PROBLEM.

 8                  IS THERE A NUMBER, OR IS THAT POSSIBLE,

 9     MR. ROBINSON?

10                  THE CLERK:       MR. YOUNG HAS THE DIAL-IN

11     INFORMATION, YOUR HONOR.

12                  MR. YOUNG:       OKAY, YES.

13                  THE COURT:       ALL RIGHT.    SO WHAT I'M GOING TO

14     ASK, I'M GOING TO ASSUME THAT YOUR CLIENT, MR. YOUNG,

15     HAS A CELL PHONE AND CAN JUST DO IT THAT WAY?

16                  MR. YOUNG:       YES.    AND WHAT WE WILL DO IS IF I

17     COULD BE EXCUSED FOR ABOUT 90 SECONDS, I COULD -- I'M

18     SURE WE COULD ACCOMPLISH BOTH, BECAUSE I CAN CALL IN

19     FROM A PHONE WITH A HANDSET, AND HE CAN CALL IN FROM

20     ANOTHER PHONE.

21                  THE COURT:       THE MIRACLES OF MODERN TECHNOLOGY.

22     AND IT WILL TAKE ABOUT THAT LONG TO GO THROUGH THE REST

23     OF THE APPEARANCES, SO NO PROBLEM.

24                  MR. YOUNG:       OKAY.    SO I WILL HANG UP AT THIS

25     POINT AND REJOIN MOMENTARILY.            THANK YOU, YOUR HONOR.


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 1                  THE COURT:       ALL RIGHT.    THANK YOU.

 2                  THE CLERK:       IN THE COURTROOM.

 3                  MR. ORTIZ:       GOOD AFTERNOON, YOUR HONOR.

 4     DAVID ORTIZ APPEARING ON BEHALF OF THE UNITED STATES

 5     TRUSTEE.

 6                  MR. HAWKINS:       GOOD AFTERNOON, YOUR HONOR.

 7     CHRIS HAWKINS OF SULLIVAN, HILL ON BEHALF OF JOE O'DEA,

 8     GENERAL MANAGER AND SHAREHOLDER OF THE DEBTOR.

 9                  MR. HINZE:       GOOD AFTERNOON, YOUR HONOR.        I'M

10     STEVE HINZE.     I'M HERE ON BEHALF OF THE DEBTOR.

11     MR. FEFERMAN, THE PROSPECTIVE CHIEF RESTRUCTURING

12     OFFICER, IS ALSO PRESENT IN COURT.

13                  THE COURT:       ALL RIGHT.    WELL, WE'LL JUST PAUSE

14     IN SILENCE WHILE WE GET THE -- MR. YOUNG AND HIS CLIENT

15     BACK ON THE LINE.

16                  THE CLERK:       WE'LL HEAR A LITTLE BEEP BEEP BEEP

17     WHEN THEY COME ON THE LINE.

18                  THE COURT:       I'LL WAIT FOR THE BEEP BEEP BEEP.

19                  THE CLERK:       OKAY.

20                  MR. YOUNG:       GOOD AFTERNOON, YOUR HONOR.        THIS

21     IS MARK YOUNG, AND I'M ON A HANDSET NOW.              MY CLIENT WILL

22     SHORTLY BE ON AS WELL ON A DIFFERENT HANDSET.

23                  THE COURT:       THERE'S THE BEEP BEEP BEEP, RIGHT.

24                  OKAY.   WELL, WE'RE ALL PRESENT HERE.            THE

25     COURT HAS REVIEWED -- EVEN THOUGH I DIDN'T DO


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 1     PARTICULARLY ELABORATE TENTATIVE RULINGS HERE, I HAVE

 2     REVIEWED EVERYTHING.          AND THE REASON I DIDN'T IS BECAUSE

 3     IF WE'RE GOING TO HAVE A CRO, SOME OF THESE MATTERS ARE,

 4     IN FACT, PREMATURE UNTIL WE HAVE THE CRO'S EVALUATION OF

 5     THESE, ALTHOUGH I HAVE SOME QUESTIONS THAT I WILL --

 6     THAT I PLAN TO ASK THE CRO IF, IN FACT, THAT IS

 7     APPROVED.

 8                  AND SO I'M GOING TO START WITH MR. ORTIZ HAD

 9     VERY HELPFULLY -- CAREFULLY REVIEWED THE INDEMNITY

10     PROVISIONS, AND I THOUGHT THAT THE U.S. TRUSTEE'S

11     CONCERNS WERE WELL FOUNDED.           AND SO I'M GOING TO ASK THE

12     U.S. TRUSTEE WHETHER, IN FACT, THOSE HAVE BEEN RESOLVED.

13                  MR. ORTIZ:       THANK YOU, YOUR HONOR.        YES, WE

14     DID HAVE EXTENSIVE BACK AND FORTH BETWEEN THE PARTIES TO

15     WORK THROUGH THESE ISSUES, AND I'M PLEASED THAT

16     EVERYTHING WENT SMOOTHLY.          AND SO THE SUPPLEMENTAL

17     DECLARATION OF MR. FEFERMAN THAT MODIFIES THE FEE

18     AGREEMENT DOES ADDRESS ALL OF THE CONCERNS THAT WE HAD

19     RELATIVE TO JUDICIAL REVIEW OF FEES, THE INDEMNITY, AND

20     THE BOARD INDEPENDENCE, WHICH WERE THE THREE REALLY

21     PRIMARY ISSUES, YOUR HONOR.           AND SO THE AGREEMENT AS

22     MODIFIED BY THE SUPPLEMENTAL DECLARATION IS SATISFACTORY

23     TO THE U.S. TRUSTEE.

24                  THE COURT:       ALL RIGHT.    WELL, THEN, THAT THEN

25     WILL BE APPROVED UNLESS THERE'S ANYTHING FURTHER BY --


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 1     THAT ANYBODY WISHES TO ADDRESS IN THAT REGARD.

 2                  THE -- THEN, FRANKLY, THE COURT THEN HAS SOME

 3     QUESTIONS, AS I SAID, FOR THE -- FOR MR. FEFERMAN, IF

 4     YOU'D LIKE TO COME ON UP.          AND IT IS A PERFECTLY

 5     ACCEPTABLE ANSWER TO SAY I WAS JUST APPOINTED WITHIN THE

 6     LAST 20 SECONDS, AND THEREFORE I NEED TO THINK ABOUT IT.

 7     BUT WE'RE GOING TO START WITH I'M GOING ASSUME THAT YOU

 8     HAVE SPENT SOME TIME LOOKING AT THIS CASE, OR YOU

 9     WOULDN'T HAVE ACCEPTED THE ENGAGEMENT.

10                  MR. FEFERMAN:       WOULD YOU LIKE ME TO ANNOUNCE

11     MY APPEARANCE?

12                  THE COURT:       I THINK THAT WOULD BE AN EXCELLENT

13     IDEA.

14                  MR. FEFERMAN:       GOOD AFTERNOON, YOUR HONOR.

15     RICHARD FEFERMAN, THE PROPOSED CRO.

16                  THE COURT:       WELL, I THINK YOU'RE NOT PROPOSED

17     ANYMORE.     YOU'RE IN.

18                  MR. FEFERMAN:       THE CRO.

19                  THE COURT:       YOU'RE IN.

20                  MR. FEFERMAN:       THANK YOU.

21                  THE COURT:       ALL RIGHT.    SO WITH THAT, LET ME

22     TELL YOU, I'M GOING TO PICK OFF THE EASY ONES --

23                  MR. FEFERMAN:       SURE.

24                  THE COURT:       -- FIRST, PERHAPS.      THE HEARING ON

25     COMPENSATION, APPROVAL OF COMPENSATION TO MR. O'DEA,


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 1     WHAT IS YOUR VIEW ON THAT?          I UNDERSTAND THAT -- AND THE

 2     FEES RECEIVED BEFOREHAND WERE WITHOUT COURT APPROVAL WAS

 3     DISGORGED, AND THERE IS NOW A MOTION FOR APPROVAL.                   AND

 4     WHAT IS YOUR VIEW, INCLUDING I NEED TIME TO THINK ABOUT

 5     IT --

 6                  MR. FEFERMAN:       SURE.

 7                  THE COURT:       -- BUT THEN WE COULD CONTINUE THIS

 8     HEARING.

 9                  MR. FEFERMAN:       NO.   MR. O'DEA SERVES AS THE

10     GENERAL MANAGER OF THE BUSINESS.            THIS IS A -- NOT A

11     SIMPLE BUSINESS.      IT'S A COMPLICATED BUSINESS.            HE

12     POSSESSES A NECESSARY -- OR AN ESSENTIAL SKILL SET THAT

13     IS REQUIRED IN ORDER TO MAINTAIN THE VALUE OF THE

14     BUSINESS.    I'LL TELL YOU WHAT HE DOES.

15                  THE COURT:       WELL, HE COMPOUNDS THE DIFFERENT

16     DRUGS THAT NEED TO BE MANUFACTURED, IF I HAVE THAT

17     CORRECTLY.

18                  MR. FEFERMAN:       THIS IS MY OBSERVATION.        HE

19     MANUFACTURES SAMPLES, SENDS THEM TO CUSTOMERS.                LOTS OF

20     CUSTOMERS LIKE THE SAMPLES, APPARENTLY.              THEY CALL AND

21     PLACE ORDERS.     MR. O'DEA SAYS I'M HAPPY TO HAVE THAT

22     MANUFACTURED FOR YOU.          WE'LL SEND IT OUT.      I NEED YOU TO

23     PAY YOUR PAST DUE BILL.          HE CONVERTS POWDER INTO MONEY.

24                  THE COURT:       ALL RIGHT.    SO WITH THAT, I TAKE

25     IT, THEN, YOU THEN SUPPORT MY GRANTING THE MOTION?


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 1                  MR. FEFERMAN:       WITHOUT EQUIVOCATION.

 2                  THE COURT:       ALL RIGHT.    AND THERE ARE NO

 3     FURTHER OPPOSITION?       MR. ORTIZ, I DON'T BELIEVE YOU HAD

 4     ANY, SO --

 5                  MR. ORTIZ:       WE DID NOT, YOUR HONOR.        WE

 6     THOUGHT THE COMPENSATION REQUESTED WAS FAIRLY

 7     REASONABLE.

 8                  THE COURT:       ALL RIGHT.    THEN THAT WILL BE

 9     APPROVED.    THE COURT WILL APPROVE THE COMPENSATION.                ALL

10     RIGHT?

11                  MR. FEFERMAN:       YES, MA'AM.

12                  THE COURT:       OKAY.   SO THAT TAKES CARE OF THAT

13     ONE.   THE COURT HAD CONCERN ABOUT -- I UNDERSTAND THAT

14     MS. BUSTARDE HAS NOW ALSO PAID BACK THE FEES THAT WERE

15     RECEIVED POST-PETITION BASED ON THE RECORD.                AM I

16     CORRECT ON THAT?

17                  MR. HINZE:       CORRECT, YOUR HONOR.

18                  THE COURT:       ALL RIGHT.    THEN I'LL SAY MY

19     REMAINING ISSUE ABOUT THE EMPLOYMENT OF MELISSA BUSTARDE

20     IS THAT I DON'T KNOW WHY THAT'S -- I STILL DON'T KNOW

21     WHY THAT'S REALLY NECESSARY.           WE'RE TALKING ABOUT A

22     DEBTOR AND HOW THE DEBTOR'S INSIDERS INTERACT WITH EACH

23     OTHER ON A CORPORATE LEVEL SEEMS TO ME TO BE AN INSIDER

24     ISSUE AND NOT A DEBTOR ISSUE.           BUT I CAN BE CONVINCED

25     OTHERWISE IF THAT'S THE CASE.


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 1                  DO YOU FEEL A NEED, MR. FEFERMAN, FOR

 2     CORPORATE COUNSEL HERE?

 3                  MR. FEFERMAN:       ON A VERY LIMITED BASIS,

 4     YOUR HONOR.     AND THE REASON FOR THAT IS THE EMPLOYMENT

 5     OF THE CRO IS CONDITIONED ON A FUNCTIONING BOARD OF

 6     DIRECTORS.     AND THERE IS OCCASION THAT I MAY HAVE A

 7     QUESTION OF HER.      THERE'S NO ONE ELSE TO GO TO.

 8                  THE COURT:       IN LIGHT OF THAT, DOES ANYONE -- I

 9     MEAN, SO YOU NEED TO SHARE WITH MS. BUSTARDE THAT IT

10     ISN'T -- IT'S NOTHING PERSONAL HERE.             IT'S JUST I NEED

11     TO MAKE SURE THAT THE FEES SHE'S GOING TO CHARGE WERE

12     NECESSARY AND BENEFICIAL TO THE ESTATE.              AND I WOULD

13     THINK IF YOU REQUEST HER SERVICES, THEN THAT WILL BE A

14     VERY EASY TEST TO MEET.

15                  IF IT TURNS OUT TO BE AN INSIDER TYPE OF

16     THING, I DON'T KNOW THAT THE COURT WOULD BE SO

17     PERSUADED.     BUT IN LIGHT OF THAT, I WILL ALLOW THOSE

18     ISSUES TO BE RESOLVED AT THE TIME OF THE FEE APPLICATION

19     AND INSTEAD OF HAVING THEM SERVE AS A BAR TO EMPLOYMENT

20     AT THIS POINT.

21                  MR. FEFERMAN:       YES, MA'AM.     I AGREE WITH YOU

22     COMPLETELY.

23                  THE COURT:       ANYTHING FURTHER ON THAT ONE?

24                  ALL RIGHT.       THEN SHE -- HER EMPLOYMENT WILL BE

25     APPROVED.


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 1                  WHICH TAKES US TO THE ORDER WITH REGARD TO USE

 2     OF CASH COLLATERAL.       AND MS. RHIM, YOU'RE ON THE PHONE,

 3     AS I RECALL.

 4                  MS. RHIM:    YES, I AM, YOUR HONOR.

 5                  THE COURT:       ALL RIGHT.    SO HOW ARE WE DOING ON

 6     THAT?

 7                  MR. FEFERMAN:       MS. --

 8                  MS. RHIM:    YOUR HONOR -- I'M SORRY.           I WILL

 9     LET MR. FEFERMAN DO HIS PRESENTATION FIRST, AND I'D LIKE

10     TO COMMENT THEREAFTER.

11                  THE COURT:       ALL RIGHT.    WELL, IF THERE'S A

12     PRESENTATION, LET'S HEAR IT.

13                  MR. FEFERMAN:       I WAS GOING TO DEFER TO

14     MS. RHIM.

15                  THE COURT:       WELL, YOU ALL HAVE TO PICK WHO

16     GOES FIRST.

17                  MR. FEFERMAN:       MS. RHIM, YOU WIN.

18                  MS. RHIM:    YOUR HONOR, BANK OF AMERICA HAS

19     BEEN VERY INTERESTED TO SEE WHAT KIND OF PROGRESS THE

20     DEBTOR WOULD MAKE WITH RESPECT TO A POTENTIAL SALE OF

21     ITS ASSETS.     MY UNDERSTANDING FROM THE CRO IS THAT THERE

22     HAS BEEN A GREAT DEAL OF NEGOTIATIONS BACK AND FORTH

23     WITH SIMPSON LABS.

24                  THERE WAS A DRAFT ASSET PURCHASE AGREEMENT

25     THAT I RECEIVED AROUND 11:00 TODAY THAT IS CURRENTLY


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 1     BEING DIGESTED BY BANK OF AMERICA.             I CAN'T COMMENT ON

 2     OUR FEELINGS ABOUT IT AT THIS TIME.             HOWEVER, AT A

 3     MINIMUM, WE ARE -- WE ARE AT LEAST PLEASED TO SEE THAT

 4     THERE'S SOME SORT OF DOCUMENTATION, SO THERE'S SOMETHING

 5     TO BUILD OFF OF.

 6                  WITH THAT SAID, WE HAD CONTINUED THE CASH

 7     COLLATERAL HEARINGS FROM WEEK TO WEEK BASICALLY, AND

 8     WE'RE THANKFUL FOR THE COURT'S ACCOMMODATION.

 9                  YOUR HONOR, AT THIS POINT, WE WOULD SIMILARLY

10     REQUEST A TWO-WEEK CONTINUANCE OF THE CASH COLLATERAL

11     HEARING, BECAUSE WE NEED THE TIME TO DIGEST THE APA AND

12     TRY TO NEGOTIATE A CONSENSUAL CASH COLLATERAL

13     STIPULATION GOING FORWARD.          SO MY REQUEST AGAIN IS FOR A

14     TWO-WEEK CONTINUANCE.

15                  IN THE MEANTIME, THE DEBTOR WOULD BE ABLE TO

16     USE CASH COLLATERAL LIMITED TO ONLY CRITICAL EXPENSES.

17     AND BANK OF AMERICA WOULD HAVE ITS REPLACEMENT LIEN, AND

18     THIS WOULD ALL BE WITHIN THE SCOPE AS PREVIOUSLY ORDERED

19     BY THE COURT.

20                  THE COURT:       ALL RIGHT.    WELL, MS. RHIM, THE

21     PARTIES -- I DON'T KNOW WHETHER I SHOULD CHARACTERIZE IT

22     AS STUMBLING ALONG OR FUNCTIONING WELL UNDER THE LIMITS

23     OF THE INTERIM CASH COLLATERAL USAGE.             SO IT SOUNDS, AT

24     LEAST, THAT MIGHT BE APPROPRIATE TO HAVE THAT CONTINUE

25     WHILE THE PARTIES PUT IN PLACE A MORE COMPLETE AND


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 1     FINITE DEAL.

 2                  BUT WHAT'S YOUR VIEW, MR. FEFERMAN?

 3                  MR. FEFERMAN:       I AGREE WITH MS. RHIM.

 4                  LET ME SAY SOMETHING IN MY OWN SELF INTEREST.

 5     WE HAVE ALSO HAD EXTENSIVE CONVERSATIONS REGARDING THE

 6     COMPENSATION OF THE CRO AND THE APPROVED STAFF MEMBER

 7     FROM MY FIRM.     WE -- THERE'S BEEN BACK AND FORTH.             THE

 8     FINAL CONVERSATIONS WERE AS I WAS GOING THROUGH SECURITY

 9     DOWNSTAIRS, AND SO I WASN'T PAYING ATTENTION AS

10     CAREFULLY AS I WOULD HAVE LIKED TO.             BUT I WOULD ASK IF

11     MS. RHIM TO TAKE THIS OPPORTUNITY TO PUT ON THE RECORD

12     WHAT WAS AGREED TO BETWEEN US.

13                  THE COURT:       MS. RHIM, DO YOU HAVE AN AGREEMENT

14     REGARDING COMPENSATION OF THE CRO AT THIS POINT?                ARE

15     YOU GOING TO -- AND IF YOU DON'T HAVE A FINAL AGREEMENT,

16     DO YOU HAVE AN AGREEMENT ABOUT THE NEXT TWO WEEKS UNTIL

17     WE WORK OUT THE CASH COLLATERAL STIPULATION?

18                  MS. RHIM:    YOUR HONOR, OUR AGREEMENT WITH THE

19     CRO, AND WE'VE BEEN APPRECIATIVE OF HIS EFFORTS, IS THAT

20     THE BANK WILL CONSENT TO THE USE OF CASH COLLATERAL TO

21     COMPENSATE MR. FEFERMAN, OR HIS FIRM, I SHOULD SAY,

22     PURSUANT TO THE AMOUNT AS REQUESTED IN HIS APPLICATION

23     AND PURSUANT TO THE PROCEDURES.            THERE'S SORT OF A

24     NOTICE AND OPPORTUNITY TO OBJECT PROCEDURE.                SO PURSUANT

25     TO THOSE PROCEDURES THAT WILL BE SET OUT IN AN ORDER


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 1     AUTHORIZING HIS EMPLOYMENT, WE WOULD CONSENT TO THAT.

 2                  WE HAD A LOT OF DISCUSSION BECAUSE OF A

 3     CONCERN OF WHAT HAPPENS REGARDING HIS ABILITY TO GET

 4     PAID IF USE OF CASH COLLATERAL IS NO LONGER AUTHORIZED.

 5     AND BANK OF AMERICA HAS AGREED THAT EVEN

 6     POST-TERMINATION OF REGARDING AUTHORITY TO USE CASH

 7     COLLATERAL THAT B OF A WOULD BE WILLING TO EXTEND A

 8     CARVE-OUT FROM ITS COLLATERAL SO THAT MR. FEFERMAN COULD

 9     BE PAID ANY OUTSTANDING UNPAID FEES ASSUMING THAT THE

10     WORK IS THROUGH THE END OF APRIL OF 2018.

11                  YOU KNOW, WE'RE HAPPY TO REVISIT IF THERE IS A

12     NEED FOR HIS EMPLOYMENT OR ACTIVE DUTIES AFTER APRIL,

13     BUT WE ARE WILLING TO GIVE MR. FEFERMAN THAT ASSURANCE.

14                  MR. FEFERMAN:       THANK YOU.

15                  THE COURT:       ALL RIGHT.    THAT WILL NEED TO GO

16     IN AN ORDER WHICH MR. ORTIZ WOULD HAVE TO TAKE A LOOK

17     AT.

18                  MR. ORTIZ.

19                  MR. ORTIZ:       YOUR HONOR, IF I MIGHT BE HEARD

20     JUST AS A POINT OF INQUIRY ON THE CASH COLLATERAL.                   I

21     KNOW THIS COURT HAD ISSUED ITS ORDER ALLOWING THE

22     INTERIM USE TO AVOID IRREPARABLE AND IMMEDIATE HARM.                     I

23     WANT TO JUST REMIND THE PARTIES THAT THE DEBTOR HAS NOT

24     PAID THE U.S. TRUSTEE QUARTERLY FEES THAT ARE DUE FOR

25     THE FOURTH QUARTER, AND THE FAILURE TO DO SO IS THE


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 1     BASIS FOR CONVERSION, WHICH WOULD CREATE IRREPARABLE AND

 2     IMMEDIATE HARM TO THIS DEBTOR.           SO I JUST WANT TO FIND

 3     OUT IF THE BANK IS GOING TO CONSENT TO THAT USE OR

 4     WHETHER THE COURT WOULD INCLUDE THAT IN ITS ORDER.

 5                  MS. RHIM?

 6                  MS. RHIM:    YOUR HONOR, THE BANK WOULD CONSENT

 7     TO THE USE OF CASH COLLATERAL FOR THAT PURPOSE.

 8                  THE COURT:       ALL RIGHT.

 9                  MR. ORTIZ:       THANK YOU.

10                  THE COURT:       THEN I THINK --

11                  MR. FEFERMAN:       I'LL SEE THAT YOU PROMPTLY HAVE

12     A CHECK.

13                  THE COURT:       THEN, MS. RHIM, YOU SHOULD

14     PROBABLY UPLOAD AN ORDER IN THAT REGARD, WHICH I THINK

15     TAKES US BACK UP TO THE FIRST ITEM ON CALENDAR.

16                  AND I HAVE A FEW THOUGHTS THAT, BECAUSE WE

17     HAVEN'T BEEN HERE BEFORE, MR. FEFERMAN, WHEN WE COME

18     BACK ON THE 22ND FOR THE CASH COLLATERAL ISSUES,

19     HOPEFULLY TO BE RESOLVED, THE COURT HAS BEEN STRUGGLING

20     JUST TO GET MY ARMS AROUND WHAT THIS CASE IS.                AND I

21     DON'T -- I'D RATHER YOU -- YOU DON'T NEED TO GIVE ME

22     YOUR OFF-THE-TOP-OF-YOUR-HEAD RESPONSE.              BUT THE TWO

23     ISSUES THE COURT HAS BEEN STRUGGLING WITH ARE REALLY

24     QUITE INTERRELATED.

25                  SO BASED ON WHAT THIS DEBTOR DOES, DOES -- YOU


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 1     KNOW, IS IT -- IT'S THE USUAL, IS IT DO WE KEEP

 2     OPERATING, OR DO WE TRY TO SELL THE BUSINESS?                THAT'S --

 3     THOSE ARE THE TWO BASICS.            AND I DON'T KNOW IF YOU EVEN

 4     WOULD HAVE --

 5                  MR. FEFERMAN:       MAY I RESPOND?

 6                  THE COURT:       SURE, IF YOU'VE HAD SUFFICIENT

 7     TIME TO EVALUATE THAT.

 8                  MR. FEFERMAN:       I STARTED WORKING ON THIS

 9     MATTER THE 26TH OF DECEMBER.            THERE IS NO SCENARIO THAT

10     I'VE LOOKED AT THAT THIS DEBTOR DOES NOT RUN OUT OF

11     MONEY VERY SHORTLY.       THERE'S A RANGE THERE DEPENDING ON

12     WHAT WE DO WITH OPERATIONS, AND YOU'LL RECEIVE EVIDENCE

13     OF THAT NEXT WEEK, I BELIEVE.

14                  MR. HINZE:       YES.    WE PLAN ON FILING A

15     MOTION --

16                  MR. FEFERMAN:       IT'S -- THERE'S SOME

17     COMPLEXITIES --

18                  THE COURT REPORTER:         I'M SORRY, I CAN'T HEAR

19     YOU.

20                  THE COURT:       MR. HINZE, YOU HAVE TO GET CLOSE

21     TO THE PODIUM OR SPEAK A LOT MORE LOUDLY.

22                  MR. HINZE:       WE HOPE TO HAVE A MOTION TO

23     APPROVE SALES PROTOCOLS ON FILE BY FRIDAY.

24                  THE COURT:       ALL RIGHT.

25                  MR. HINZE:       BY NEXT FRIDAY.


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 1                  THE COURT:       WELL, THERE WE GO.

 2                  MR. FEFERMAN:       IT'S UNDERCAPITALIZED AS FAR AS

 3     BEING A VIABLE, GOING CONCERN.           THAT'S IT.

 4                  THE COURT:       OKAY.

 5                  MR. FEFERMAN:       NOT AN OPTION.

 6                  THE COURT:       ALL RIGHT.    AND THEN THE -- THIS

 7     DEBTOR, BECAUSE LIKE ALL OPERATING DEBTORS WHO

 8     MANUFACTURE, IS -- HAS A COMPLEX CAPITAL STRUCTURE

 9     THROUGH HERE WITH, YOU KNOW, BANK OF AMERICA.                THEY HAVE

10     THE ALL-ASSET LINE, BUT THEN THEY ALSO HAVE SOME

11     EQUIPMENT LINES, AND WHAT'S CASH COLLATERAL, AND HOW

12     DOES IT ALL COME TOGETHER, PARTICULARLY WHERE YOU'VE GOT

13     ONGOING USE WHICH IS IN PART FUNDED BY RECEIPTS FROM

14     MAYBE PRE-PETITION INVENTORY.           IT MAY BE SOMETHING ELSE

15     BUT ALSO NEW SERVICES.

16                  SO TRYING TO EXACTLY FIGURE OUT THE WHOLE CASH

17     COLLATERAL ISSUE IS OFTEN CHALLENGING OR NIGH IMPOSSIBLE

18     WITHOUT COMPLETELY UNECONOMICAL EFFORT AND ANALYSIS.                  SO

19     I'M NOT SURE WE GO THERE, BECAUSE I'LL NEED TO SEE WHAT

20     THE RESOLUTIONS THAT HAVE BEEN REACHED.

21                  BUT IF I UNDERSTAND YOUR COMMENT, THE DEBTOR

22     DOESN'T HAVE A BUYER NOW.          WHAT THE DEBTOR IS TRYING TO

23     DO IS BRING BUYERS IN THE DOOR.            IS THAT REALLY WHERE WE

24     ARE?   OR, NO, IS THERE A BUYER?           OH, IS IT

25     SIMPSON LAB?


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 1                  MR. HINZE:       SIMPSON LABS.

 2                  MR. YOUNG:       YES.   YES, YOUR HONOR.       YEAH, THIS

 3     IS -- IF I MAY, THIS IS MARK YOUNG, ATTORNEY FOR A

 4     SIMPSON LABS.     AND SIMPSON HAS BEEN NEGOTIATING

 5     EXTENSIVELY WITH REPRESENTATIVES OF THE DEBTOR FOR

 6     SEVERAL WEEKS NOW, AND I'VE COME INTO THE PICTURE WITHIN

 7     THE LAST WEEK OR SO TO FORMALIZE.            SO SIMPSON IS A VERY

 8     INTERESTED AND VERY SERIOUS BUYER.

 9                  THE COURT:       ALL RIGHT, AND I UNDERSTAND.           AND

10     ONE OF THE THINGS, I'M JUST GOING TO GIVE YOU A HEADS-UP

11     THAT THE COURT, MR. YOUNG, IS -- I UNDERSTAND THAT THE

12     SIMPSON HAS BEEN MANUFACTURING THIS.             THE DEBTOR HAS RUN

13     INTO FINANCIAL DIFFICULTIES.           YOU KNOW, DEBTORS OFTEN DO

14     THINGS THAT ARE NOT QUITE, I'M JUST GOING TO SAY,

15     STANDARD.     THAT DOESN'T MEAN THEY'RE INAPPROPRIATE.               IT

16     JUST MEANS THEY'RE NOT STANDARD.            AND THOSE, I JUST WANT

17     TO ENSURE THAT THOSE HAVE BEEN HANDLED FAIRLY FROM THE

18     STANDPOINT OF THE CREDITORS OF THE CASE.

19                  BUT IF SIMPSON IS A PROPOSED BUYER, AND

20     PERHAPS THE MOST ATTRACTIVE BUYER, THEN THAT'S A

21     WONDERFUL DEVELOPMENT HERE.           SO I KNOW THAT THERE WAS A

22     DECLARATION RECENTLY FILED, I BELIEVE BY MR. O'DEA,

23     ABOUT THE RELATIONSHIP WITH SIMPSON.             AND I WOULD STILL

24     HAVE QUESTIONS WITH THAT, BUT I'M NOT SURE THAT THOSE

25     NEED TO BE ANSWERED OR ADDRESSED HERE TODAY.                BUT THOSE


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 1     WERE THE ISSUES IN MY OWN MIND ABOUT HOW THOSE AFFECTED

 2     THE STATUS OF THIS CASE AND ITS ADMINISTRATION.

 3                  SO SOUNDS LIKE THE -- WHAT WE SHOULD DO -- SO

 4     WITH THE SALES PROCEDURE MOTION TO BE FILED HOPEFULLY BY

 5     THE END OF THE WEEK --

 6                  MR. HINZE:       NEXT OR BEFORE NEXT FRIDAY.

 7                  THE COURT:       -- ARE WE GOING TO SET A -- DO

 8     THOSE ANTICIPATE A SALE HEARING BEING SET?                 SO ARE THESE

 9     BEING DONE ON AN EX PARTE BASIS OR A REDUCED NOTICE AND

10     THEN --

11                  MR. HINZE:       THAT'S WHAT WE WANTED TO TALK TO

12     YOU ABOUT, WAS HOW WOULD YOU -- WOULD YOU PREFER HAVING

13     THIS BROUGHT UP ON AN EMERGENCY BASIS, HAVING THE MOTION

14     FILED, AND HAVING NOTICE ON -- PURSUANT TO AN ORDER

15     SHORTENING TIME?      WE DO HAVE A CASH -- WE NEED TO

16     PRESERVE CASH AS MUCH AS POSSIBLE, SO THE FASTEST -- THE

17     FASTER WE CAN GET THIS ACCOMPLISHED, THE BETTER FOR

18     EVERYBODY CONCERNED.

19                  THE COURT:       RIGHT.   WELL, LET ME -- THEN

20     HERE'S WHAT I'M GOING TO SUGGEST.            THE SHORT ANSWER TO

21     YOUR QUESTION IS:      I DON'T REALLY KNOW HOW I WANT TO DO

22     IT UNTIL I SEE IT.       SO I HAVE TO REVIEW THAT.           BUT I

23     HAVE IN THE PAST APPROVED -- I MEAN, NO HEARING MOTIONS

24     TO APPROVE SALE PROCEDURES WHERE THE KEY PARTIES IN THE

25     CASE AGREE.     HERE, YOU KNOW, U.S. TRUSTEE, THE CRO, YOU


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 1     KNOW, THE DEBTOR.

 2                  AND THEN I WILL LOOK AT THAT MOTION TO SEE

 3     WHETHER IT REALLY IMPACTS, YOU KNOW, ISSUES WITH

 4     CREDITORS.     AND PERHAPS IT MIGHT EVEN BE IF B OF A

 5     AGREES TO IT, THAT'S GREAT.           AND THEN I'LL HAVE TO

 6     FIGURE OUT HOW I ADDRESS THE DUE PROCESS CONCERNS ONCE

 7     WE GET THERE.

 8                  SO I CAN'T GIVE YOU MY ANSWER TODAY UNTIL I

 9     SEE IT.   BUT IF ALL THE PARTIES AGREE TO A CERTAIN SET

10     OF SALE PROCEDURES, THEN I DON'T SEE WHY I'D HAVE TO

11     HAVE A HEARING ON IT.

12                  I WOULD PROBABLY NEED TO RESERVE OBJECTIONS ON

13     DUE PROCESS UNTIL THE TIME OF THE HEARING, BECAUSE,

14     FRANKLY, THEY'RE PRESERVED FOREVER IF THEY'RE VALID.

15     THAT'S JUST HOW IT WORKS.          IT'S A CONSTITUTIONAL ISSUE.

16                  SO, YOU KNOW, WITH THAT, I COULD EVEN GIVE

17     YOU, IF YOU THOUGHT THIS WOULD BE IMPORTANT, GIVE YOU

18     HEARING DATES RIGHT NOW TO WORK TOWARDS SO THAT THEY'RE

19     RESERVED ON THE CALENDAR.

20                  MR. HINZE:       THAT WOULD BE VERY HELPFUL.

21                  THE COURT:       ALL RIGHT.    SO I'LL TELL YOU WHAT

22     SOME OPTIONS ARE, ALTHOUGH I CAN EVEN WORK WITHIN THAT.

23     THE COURT IS NOT -- THE COURT IS GOING TO BE DARK THE

24     WEEK OF MARCH 12TH.       I HAVE A HEARING ON THURSDAY OF

25     BOTH -- WE KNOW ABOUT FEBRUARY 22ND.             I DON'T KNOW IF


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 1     MARCH 8TH IS TOO SOON.          I DON'T KNOW IF MARCH 22ND IS

 2     TOO LATE.    WHAT WOULD WORK?

 3                  MR. HINZE:       IF WE COULD GET SOMETHING PRIOR TO

 4     MARCH 22ND, I THINK --

 5                  THE COURT:       WELL, THAT WOULD EITHER BE

 6     MARCH 8TH, OR I COULD GIVE YOU MARCH --

 7                  MR. HINZE:       EXCUSE ME, BEFORE FEBRUARY 22ND.

 8                  THE COURT:       YOU WANT A SALE HEARING BEFORE

 9     FEBRUARY -- IN TWO WEEKS?          I MEAN, IF YOU DO, I -- I'LL

10     NEED TO -- I'M NOT SURE I'M GOING TO GIVE IT TO YOU.

11                  MR. HINZE:       OKAY.

12                  THE COURT:       BUT IF YOU WANT A SALE HEARING, I

13     WILL -- I CAN GIVE YOU -- I CAN TENTATIVELY SET IT FOR

14     FEBRUARY 22.     AND THEN I'LL JUST HAVE TO FIGURE OUT,

15     ONCE I SEE EVERYTHING, WHETHER THAT'S OKAY OR NOT.

16                  MR. FEFERMAN:       TAKE IT.

17                  MR. HINZE:       WE'LL TAKE THE 22ND.

18                  THE COURT:       ALL RIGHT.

19                  MR. HINZE:       OKAY.

20                  THE COURT:       NOW, DON'T ASSUME THAT THIS MEANS

21     IT'S GOING TO BE -- IF I FIND OUT THAT THERE -- THERE'S

22     OBVIOUSLY NOTICE TO CREDITORS, AND I'LL HAVE TO DECIDE

23     WHERE WE MIGHT END UP.          BUT MR. ORTIZ SEEMS TO HAVE

24     SOME --

25                  MR. ORTIZ:       YOUR HONOR, I -- THAT'S REALLY


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 1     QUICK ON A SALE MOTION AS OPPOSED TO A SALES PROCEDURES

 2     MOTION.

 3                  THE COURT:       OH, I'M ASSUMING THE SALE

 4     PROCEDURES IS GOING DOWN IN AN EX PARTE BASIS.                AND

 5     THEN, ONCE I APPROVE IT, IT'S GOING TO GO FORWARD.                   ARE

 6     WE NOT --

 7                  MR. ORTIZ:       BECAUSE --

 8                  THE COURT:       BECAUSE I WILL -- JUST TO FILL IN

 9     THE GAPS HERE, IF I REVIEW THE SALE PROCEDURES MOTION,

10     WHICH IS FILED BY, SAY, FEBRUARY 12TH, AND I LOOK AT IT,

11     AND I SAY, HMM, THIS NEEDS A HEARING, I'LL SET IT FOR AN

12     EX PARTE HEARING LATER THAT WEEK, OKAY?              SO WHAT I'M

13     TALKING ABOUT IS THE ACTUAL SALE DATE FOR SALE OF THE

14     ASSETS, ASSUMING AN ORDER IS ENTERED APPROVING THE SALES

15     PROCEDURES.    DOES THAT HELP?

16                  MR. ORTIZ:       I GOT -- I UNDERSTAND, YOUR HONOR,

17     MY ONLY CONCERN IS, IN HAVING SPOKEN WITH MR. FEFERMAN,

18     IS THE DESIRE TO TRY TO MARKET THIS A LITTLE BIT MORE.

19     AND SO WE -- THE U.S. TRUSTEE WOULD HAVE CONCERNS ABOUT

20     HAVING A HEARING ON THE ACTUAL SALE SO QUICKLY.

21                  THE COURT:       OKAY.   HOW ABOUT MARCH 8?

22                  MR. ORTIZ:       PERHAPS MR. FEFERMAN MIGHT BE

23     BETTER SUITED TO ANSWER THAT QUESTION, YOUR HONOR.

24                  THE COURT:       OR MARCH -- I COULD GIVE YOU

25     MARCH 6TH.


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 1                  MR. FEFERMAN:       YOUR HONOR, I'M HAPPY TO DRAG

 2     YOU A LITTLE BIT INTO THE WEEDS RIGHT NOW.                 WE HAVE A

 3     COUPLE OF POINTS THAT WE'RE NEGOTIATING -- SEVERAL

 4     POINTS THAT ARE STILL OPEN IN OUR NEGOTIATIONS WITH

 5     SIMPSON.     ONE POINT DEALS WITH WHAT HAPPENS WITH ONGOING

 6     LOSSES, AND IT CROSSES OVER WITH A -- WITH TRUEING UP

 7     THE LEVEL OF ACCOUNTS RECEIVABLES THAT ARE BEING

 8     PURCHASED.

 9                  IF WE'RE GOING TO TRUE UP THE ACCOUNTS

10     RECEIVABLES, WE HAVE NO INCOME, AND -- OR EFFECTIVELY,

11     WE HAVE NO INCOME.       AND, HOWEVER, TO -- MOST BUYERS WANT

12     TO MAINTAIN THE GOING CONCERN.           SO WE HAVE ALL THE

13     EXPENSES AND NO INCOME.

14                  THERE'S A COUPLE OF SOLUTIONS TO THAT.

15     SIMPSON CAN BEAR THE LOSSES, OR THEY CAN ALLOW US TO

16     REDUCE OPERATIONS TO A MINIMUM.            IF WE CONTINUE AT THE

17     SAME LEVEL, WE RUN OUT OF MONEY BEFORE THE END OF

18     FEBRUARY, RUN OUT OF CASH.          THAT'S RIGHT NOW

19     APPROXIMATELY $700,000, WHICH IS A -- WOULD BE A

20     SIGNIFICANT RECOVERY FOR THE CREDITOR BODY.                IT COULD

21     MAKE THE DIFFERENCE BETWEEN THERE ACTUALLY BEING MONEY

22     FOR UNSECURED CREDITORS OR NO MONEY FOR UNSECURED

23     CREDITORS, AND, IN FACT, THE SECURED CREDITORS TAKING A

24     HAIRCUT.

25                  THE COURT:       WELL, HERE'S WHAT I'M GOING TO DO,


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 1     THEN.

 2                  MR. FEFERMAN:       OKAY.

 3                  THE COURT:       I AM GOING TO SET A HEARING ON THE

 4     SALE PROCEDURES MOTION FOR THE 14TH OF FEBRUARY AT 2:00

 5     P.M.

 6                  MR. FEFERMAN:       OKAY.

 7                  THE COURT:       AND WE CAN -- THEREFORE, PEOPLE

 8     CAN THINK ABOUT HOW WE CAN -- NEGOTIATIONS AND RESOLVING

 9     THESE ISSUES SO THAT WE CAN THEN DECIDE WHAT WE NEED TO

10     DO TO BALANCE ALL OF THIS.          SO DOES THAT WORK FOR

11     EVERYONE?

12                  MR. FEFERMAN:       WORKS FOR ME, YOUR HONOR.

13                  MR. ORTIZ:       THANK YOU, YOUR HONOR.

14                  MR. HINZE:       THANK YOU.

15                  MR. FEFERMAN:       THANK YOU VERY MUCH.

16                  MR. YOUNG:       YES, YOUR HONOR.

17                  THE COURT:       ALL RIGHT.    SO THAT'S WHAT WE WILL

18     DO.    THE SALE PROCEDURES MOTION FEBRUARY 14TH AT 2:00

19     P.M.    AND I WILL REQUIRE STATUS REPORTS TO BE FILED BY

20     9:00 A.M. ON FEBRUARY 14TH SO THAT I HAVE SOME IDEA

21     WHAT'S HAPPENING, BUT TO GIVE YOU ENOUGH TIME TO TRY TO

22     RESOLVE WHATEVER CAN BE RESOLVED.            ALL RIGHT.

23                  MR. FEFERMAN:       THANK YOU VERY MUCH.

24                  THE COURT:       AND I'M GOING TO TRAIL THE STATUS

25     CONFERENCE OF THE CASE TO THAT DATE AS WELL.                AND IF --


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 1     I CAN ALSO, MS. RHIM, MOVE THE CASH COLLATERAL HEARING

 2     TO THE 14TH IF YOU THINK YOU'LL BE DONE BY THEN AND NOT

 3     MOVE IT TO THE 22ND.          WHAT DO YOU THINK?

 4                  MS. RHIM:    YOUR HONOR, I WOULD BE FINE WITH

 5     FEBRUARY 14.     CERTAINLY, YOU KNOW, IF WE NEED MORE TIME,

 6     WE'LL ADVISE YOU.      BUT I'D BE HAPPY TO HAVE THAT AT

 7     LEAST AS A HOLDING DATE.

 8                  THE COURT:       ALL RIGHT.

 9                  MR. HINZE:       WHEN WOULD YOU LIKE THE MOTION

10     FILING DATE?

11                  THE COURT:       WELL, DID YOU JUST TELL ME YOU

12     COULD FILE IT BY TOMORROW SO I WOULD --

13                  MR. HINZE:       NO.

14                  THE COURT:       NO, MONDAY AT 9:00?

15                  MR. HINZE:       THAT'S GOING TO BE A STRETCH.

16                  THE COURT:       WELL, WE HAVE THE HEARING ON

17     WEDNESDAY AT 2:00.

18                  MR. FEFERMAN:       I THINK HE SAID THE 15TH.

19                  MR. HINZE:       WE'LL HAVE TO DO IT MONDAY AT

20     9:00.

21                  THE COURT:       I'LL GIVE YOU TO NOON.        HOW ABOUT

22     THAT?

23                  MR. HINZE:       OKAY.

24                  THE COURT:       BECAUSE IT IS GOING TO HAVE TO BE

25     NOTICED TO PEOPLE, AND ANY OPPOSITION WILL BE DUE AT THE


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 1     HEARING.     YOU KNOW, I DON'T KNOW WHAT IMPACT AND WHAT

 2     CREDITOR MIGHT BE OUT HERE THAT MIGHT WANT TO BE HEARD.

 3     BUT GIVING THAT DUE PROCESS WILL HELP TRY TO GET THIS

 4     DONE IN AS QUICKLY A MANNER AS POSSIBLE CONSISTENT WITH

 5     DUE PROCESS.

 6                  MR. HINZE:       DO YOU WANT ALL CREDITORS NOTICED?

 7                  THE COURT:       I THINK WE NEED TO DO THAT.

 8                  MR. HINZE:       ALL 200?

 9                  THE COURT:       YEAH.   BECAUSE THIS IS -- THIS IS

10     GOING TO BE THE CASE.          THIS IS GOING TO DETERMINE THE

11     CASE --

12                  MR. HINZE:       OKAY.

13                  THE COURT:       -- PRETTY QUICK.

14                  ALL RIGHT.       ANYTHING ELSE WE CAN ACCOMPLISH

15     HERE TODAY?     APPARENTLY NOT.        I WILL SEE YOU BACK HERE

16     NEXT WEEK.     THANK YOU.

17                  MR. FEFERMAN:       THANK YOU, YOUR HONOR.

18                  MS. RHIM:    THANK YOU, YOUR HONOR.

19                  MR. YOUNG:       THANK YOU.

20                  (WHEREUPON, THE PROCEEDINGS ADJOURNED AT 3:07

21                  P.M.)

22

23

24

25


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 1     STATE OF CALIFORNIA       )
                                 :
 2     COUNTY OF SAN DIEGO       )

 3

 4             I, SUE ROSS, A CERTIFIED SHORTHAND REPORTER, DO

 5     HEREBY CERTIFY:

 6             THAT I REPORTED IN SHORTHAND THE PROCEEDINGS

 7     HELD IN THE FOREGOING CAUSE ON THE 8TH DAY OF FEBRUARY,

 8     2018; THAT MY NOTES WERE LATER TRANSCRIBED INTO

 9     TYPEWRITING UNDER MY DIRECTION AND THAT THE FOREGOING

10     TRANSCRIPT CONTAINS A CORRECT STATEMENT OF THE

11     PROCEEDINGS.

12

13                  DATED THIS 13TH DAY OF FEBRUARY, 2018.

14

15                  /S/

16                  SUE ROSS
                    CSR NO. 5786
17

18

19

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21

22

23

24

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                        EXHIBIT 3
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CSD 1001A [07/01/18]                                                69
Name, Address, Telephone No. & I.D. No.

         Gary E. Slater (SBN 99141) / Timothy J. Truxaw (SBN 106428)
         SLATER & TRUXAW, LLP
                                                                                                September 27, 2018
         15373 Innovation Drive, Suite 210
         San Diego, CA 92128
         Tel: (858) 675-0755/ Fax: (858) 675-0733

       Attorneys for Richard M Kipperman, Chapter 7 Trustee

               UNITED STATES BANKRUPTCY COURT
                      SOUTHERN DISTRICT OF CALIFORNIA
                 325 West F Street, San Diego, California 92101-6991

 In Re
                                                                                  BANKRUPTCY NO. 17-06078-MM7
 CORE SUPPLEMENT TECHNOLOGY, INC.
                                                                                  Date of Hearing: N/A
                                                                                  Time of Hearing: N/A
                                                                                  Name of Judge: Hon. Margaret M. Mann
                                                                        Debtor.


                                                                   ORDER ON
      UNCONTESTED NOTICE OF INTENDED ACTION REGARDING APPROVAL OF TRUSTEE'S SETTLEMENT
         AGREEMENT WITH BANK OF AMERICA, N.A. AND BANC OF AMERICA LEASING & CAPITAL, LLC


            The court orders as set forth on the continuation pages attached and numbered 2 through 2 with exhibits, if        jrm

 any, for a total of 13 pages. Motion/Application Docket Entry No. 269 .

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 DATED:
                September 27, 2018                                       Judge, United States Bankruptcy Court
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CSD 1001A [07/01/18]                                                                                              Page 2 of 2

 ORDER ON UNCONTESTED NOTICE OF INTENDED ACTION REGARDING APPROVAL OF TRUSTEE'S
 SETTLEMENT AGREEMENT WITH BANK OF AMERICA, N.A. AND BANC OF AMERICA LEASING & CAPITAL, LLC
 DEBTOR: CORE SUPPLEMENT TECHNOLOGY, INC                             CASE NO: 17-06078-MM7                                          jrm


 The Court having read and considered the Notice of Intended Action and Opportunity for Hearing, supporting declaration
 and certificates of service filed therewith (ECF Doc. Nos. 269, 269-1, 269-2 and 269-3, collectively, the "Notice")
 regarding the request by Richard M Kipperman, Chapter 7 Trustee (the "Trustee") for authority to enter into and
 consummate,and for the Court's approval of the Trustee's proposed Settlement Agreement with Bank of America, N.A.
 and Banc of America Leasing & Capital, LLC (together “Creditor”), a true copy of which is attached hereto, marked
 Exhibit "A" (the "Agreement"); due and sufficient notice of the relief requested in the Notice having been given to all
 creditors and interested parties as provided in said certificates of service; the notice period provided in the Notice having
 expired and no opposition or request for hearing having been timely filed with respect thereto; it appearing that the
 Agreement is fair, reasonable and equitable in light of the factors cited in the Notice, and that it is in the best interests of
 the creditors and this bankruptcy estate that the compromise and settlement provided in the Agreement be authorized,
 approved and compromised as requested in the Notice; and good cause otherwise appearing therefor;

 IT IS HEREBY ORDERED AND ADJUDGED that:

 1. The relief prayed in the Notice shall be and hereby is granted;

 2. The terms, conditions, and transactions contemplated by the Agreement are hereby approved in all respects, and the
 Trustee is hereby authorized under 11 U.S.C. § 105(a) and Fed. R. Bank. P. 9019 to enter into and carry out the
 Agreement; and

         3. The Trustee is hereby authorized and empowered to:

            (a) perform under, consummate, and implement the Agreement,

       (b) execute any instruments and documents that may be reasonably necessary or desirable to implement the
 Agreement and to consummate the transactions contemplated thereby, and

         (c) take such other and further steps as are contemplated by the Agreement or reasonably required to fulfill the
 Trustee's obligations under the Agreement, all without further order of the Court, subject to the protections afforded
 bankruptcy trustees under applicable law.

 /././

 /././




CSD 1001A


                                                                        Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                            [Page 1 of 11]
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                                     Exhibit "A"                            [Page 2 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                            [Page 4 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                            [Page 7 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                            [Page 8 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                            [Page 9 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                          [Page 10 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
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                                     Exhibit "A"                          [Page 11 of 11]
                                                   Signed by Judge Christopher B. Latham September 27, 2018
